                Case 25-50514              Doc 1        Filed 06/24/25           Entered 06/24/25 16:29:52                    Page 1 of 58


Fill in this information to identify the case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this is an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/25
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SLM Services, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Northeast Horticultural Services
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  25 Radel Street
                                  Bridgeport, CT 06607
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfield                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.northeasthorticultural.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case 25-50514              Doc 1          Filed 06/24/25           Entered 06/24/25 16:29:52                         Page 2 of 58
Debtor    SLM Services, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,424,000 (amount subject to adjustment on 4/01/28 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 25-50514                    Doc 1         Filed 06/24/25            Entered 06/24/25 16:29:52                      Page 3 of 58
Debtor    SLM Services, LLC                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                Case 25-50514     Doc 1        Filed 06/24/25         Entered 06/24/25 16:29:52               Page 4 of 58
Debtor   SLM Services, LLC                                                          Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 25-50514            Doc 1        Filed 06/24/25             Entered 06/24/25 16:29:52                     Page 5 of 58
Debtor    SLM Services, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 24, 2025
                                                  MM / DD / YYYY


                             X /s/ Stacey Marcell                                                         Stacey Marcell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member/Manager




18. Signature of attorney    X /s/ Jeffrey Hellman                                                         Date June 24, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey Hellman CT04102
                                 Printed name

                                 Law Offices of Jeffrey Hellman, LLC
                                 Firm name

                                 195 Church Street, 10th Floor
                                 New Haven, CT 06510
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     203-691-8762                  Email address      jeff@jeffhellmanlaw.com

                                 CT04102 CT
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         SLM Services, LLC

United States Bankruptcy Court for the:     DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 24, 2025                   X /s/ Stacey Marcell
                                                           Signature of individual signing on behalf of debtor

                                                            Stacey Marcell
                                                            Printed name

                                                            Member/Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 25-50514         Doc 1         Filed 06/24/25             Entered 06/24/25 16:29:52                             Page 7 of 58


 Fill in this information to identify the case:
 Debtor name SLM Services, LLC
 United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT                                                                             Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Associated                                          guaranteed                Disputed                                                                          $33,774.20
 Receivables                                         obligation
 Funding
 c/o Townes B.
 Johnson III, LLC
 Attn: Townes
 Johnson, Esq.
 101 N. Main Street
 Greenville, SC 29601
 Capital One, N.A.                                   credit card                                                                                                 $11,237.53
 Attn: President                                     purchases
 PO Box 71087
 Charlotte, NC 28272
 CAT Financial/H.O.                                                                                                                                              $51,264.72
 Penn
 Attn: President
 PO Box 735638
 Dallas, TX 75373
 CT Dept. of Labor                                   prevailing wage           Disputed                                                                          $95,641.17
 Attn: Managing                                      dispute and civil
 Director                                            penalty
 200 Folly Brook
 Boulevard
 Wethersfield, CT
 06109
 First                                               2023 Hino L6 (268)                                     $73,117.50                 $70,000.00                  $3,117.50
 Commonwealth
 Equip Fin
 Attn:
 Owner/President
 920 Cassatt Road,
 Ste. 310
 Berwyn, PA 19312
 Ford Motor Credit                                   2019 Ford F-250                                        $33,203.50                 $25,000.00                  $8,203.50
 Attn: President                                     (VIN ending 0138)
 PO Box 220564
 Pittsburgh, PA
 15257-2564

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    SLM Services, LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Grillo Services, LLC                                                                                                                                              $9,554.90
 Attn: Managing
 Member
 1183 Oronoque
 Road
 Milford, CT 06461
 Land Rover                                          2024 Land Rover                                       $110,489.89                 $85,000.00                $25,489.89
 Financial Group
 Attn: Managing
 Director
 PO Box 650351
 Dallas, TX 75265
 Madison Supply &                                                                                                                                                  $6,417.69
 Rental
 Attn:
 Owner/President
 85 East Washington
 Avenue
 Bridgeport, CT
 06604
 Mitchell & Sheahan,                                                                                                                                             $19,392.74
 P.C.
 Attn: Managing
 Director
 999 Oronoque Road,
 Ste. 203
 Stratford, CT 06614
 NETTTS                                                                        Disputed                                                                            $3,000.00
 Attn:
 Owner/President
 510 Barnum
 Avenue, 4th Floor
 Bridgeport, CT
 06608
 P & C Fence                                                                   Disputed                                                                            $8,000.00
 Company, Inc.
 Attn:
 Owner/President
 60 Radel Street
 Bridgeport, CT
 06607
 Planters' Choice,                                                                                                                                               $14,637.00
 LLC
 Attn:
 Owner/President
 140 Huntington
 Road
 Newtown, CT 06470
 Stacey Marcell                                      promissory note                                                                                           $159,889.79
 143 Freeman Road
 Oxford, CT 06478



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    SLM Services, LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Sunbelt Rentals, Inc.                                                                                                                                           $17,277.25
 Attn:
 Owner/President
 PO Box 409211
 Atlanta, GA
 30384-9211
 The Homer C.                                                                                                                                                      $4,106.74
 Godfrey Co.
 Attn:
 Owner/President
 1360 Central Avenue
 Bridgeport, CT
 06610
 The Stacey Marcell                                  loan at 3% per                                                                                              $20,000.00
 2024                                                annum
 Irrevocable Trust
 Agreement
 Attn: Benjamin
 Proto, Trustee
 2885 Main Street
 Stratford, CT 06614
 Travelers                                           insurance                                                                                                     $3,340.00
 Attn: Managing                                      premium
 Director
 P.O. Box 660317
 Dallas, TX 75266
 Waters Construction                                                                                                                                             $60,000.00
 Co., Inc.
 Attn: President
 300 Bostwick
 Avenue
 Bridgeport, CT
 06605
 Whitten, Horton &                                                                                                                                                 $6,550.00
 Gibney LLP
 Attn: Managing
 Director
 PO Box 1069
 Orange, CT 06477




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Fill in this information to identify the case:

Debtor name           SLM Services, LLC

United States Bankruptcy Court for the:                      DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                       $        2,855,436.59

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                      $        2,855,436.59


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $           511,175.36


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$           543,174.49


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                             $           1,054,349.85




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
           Case 25-50514                Doc 1         Filed 06/24/25         Entered 06/24/25 16:29:52                       Page 11 of 58

Fill in this information to identify the case:

Debtor name         SLM Services, LLC

United States Bankruptcy Court for the:     DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Milford Bank                                      checking                              9123                                  $379,698.73



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $379,698.73
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    165,300.95     -                             5,000.00 = ....                              $160,300.95
                                        face amount                         doubtful or uncollectible accounts
                                       Accounts receiveable 90 days and less


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                      page 1
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Debtor       SLM Services, LLC                                                              Case number (If known)
             Name




          11b. Over 90 days old:                       22,793.00       -                           10,000.00 =....                     $12,793.00
                                      face amount                             doubtful or uncollectible accounts
                                     Accounts receivable older than 90 days

12.       Total of Part 3.                                                                                                        $173,093.95
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Planting (three 3-gallon
          Llex Glabra)                                                                    $0.00                                           $160.00


          Planting (two 10-gallon
          Llex Glabra)                                                                    $0.00                                           $190.00


          Planting (two 3-4' Llex
          Blue Prince)                                                                    $0.00                                           $220.00


          Planting (seven 3-gallon
          Bobo Hydrangea)                                                                 $0.00                                           $245.00


          Planting (eighteen
          1-gallon Nepeta 'Junior
          Walker')                                                                        $0.00                                           $153.00


          Planting (one 6-gallon
          Common Purple Lilac)                                                            $0.00                                             $52.00


          Planting (one 5-gallon
          Witch Hazel)                                                                    $0.00                                             $25.50




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       SLM Services, LLC                                                       Case number (If known)
             Name

          Planting (two 6-7' Green
          Giant Arborvitae)                                                        $0.00                                            $370.00


          Planting (six 3-gallon
          Itea 'Little Henry")                                                     $0.00                                            $137.50


          Planting (one 5-6' 'Pink
          Cascade' Weeping
          Cherry)                                                                  $0.00                                            $505.00


          Planting (two Shamrock
          Inkberry)                                                                $0.00                                              $58.00


          Planting (one Nigra
          Japanese Holly)                                                          $0.00                                            $140.00


          Planting (one Compact
          Inkberry)                                                                $0.00                                              $29.00


          Chemicals used for
          plant health care and
          lawn applications                                                        $0.00                                         $21,858.91




23.       Total of Part 5.                                                                                                   $24,143.91
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                      0.00 Valuation method                          Current Value              7,206.75

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                       Net book value of          Valuation method used   Current value of
                                                                    debtor's interest          for current value       debtor's interest
                                                                    (Where available)

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 3
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Debtor       SLM Services, LLC                                                              Case number (If known)
             Name



39.       Office furniture
          used desks and tables, filing cabinets,
          shredder                                                                        $0.00                                        $1,500.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          5 desktop computers, 1 laptop, 2 iPads                                     Unknown                                           $2,500.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $4,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2019 Hino (model 338)                                                  $0.00     Comparable sale                   $40,000.00


          47.2.    2017 Hino 195 Spray Truck (model 195)                                  $0.00     Comparable sale                   $40,000.00


          47.3.    2015 Ford-Super Cab (model F-350)                                      $0.00     Comparable sale                   $35,000.00


          47.4.    2019 Hino (model 195)                                                  $0.00     Comparable sale                   $40,000.00


          47.5.    2019 Freightliner (model M2106)                                        $0.00     Comparable sale                   $33,000.00


          47.6.    2017 Ford (model F-350 SUP)                                            $0.00     Comparable sale                   $30,000.00


          47.7.    2009 International Hook Truck (model
                   8600)                                                                  $0.00     Comparable sale                   $50,000.00



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor      SLM Services, LLC                                             Case number (If known)
            Name

         47.8.   2018 International Log Truck (model
                 4000 430)                                               $0.00    Comparable sale             $100,000.00


         47.9.   2019 Takeuchi-Escavator (model
                 TB260CR)                                                $0.00    Comparable sale              $50,000.00


         47.10
         .     2012 Bandit Stump Grinder (model 2900)                    $0.00    Comparable sale              $75,000.00


         47.11 2012 Bobcat Skid Steer Loader (model
         .     S650)                                                     $0.00    Comparable sale              $28,000.00


         47.12
         .     2012 Bobcat, 72in, Grapple, Root                          $0.00    Comparable sale               $3,000.00


         47.13 2012 Brush Bandit Chipper Trailer
         .     (model 1590)                                              $0.00    Comparable sale              $45,000.00


         47.14 2015 Brush Bandit Chipper Trailer
         .     (model 1990)                                              $0.00    Comparable sale              $75,000.00


         47.15 2020 Brush Bandit Chipper Trailer
         .     (model 19XPC)                                             $0.00    Comparable sale              $55,000.00


         47.16 2010 Bandit Stump Grinder Trailer
         .     (model TRL)                                               $0.00    Comparable sale               $5,000.00


         47.17
         .     2019 CAM S Trailer (model TRL)                            $0.00    Comparable sale               $5,300.00


         47.18
         .     2013 Cam Trailer (model TRL)                              $0.00    Comparable sale               $4,200.00


         47.19
         .     2016 Arising Trailer (model 8520VTR)                      $0.00    Comparable sale               $8,000.00


         47.20
         .     2007 TWF Trailer (model 16U)                              $0.00    Comparable sale               $2,000.00


         47.21
         .     2019 Ford F-250                                     $18,470.63     Comparable sale              $15,000.00


         47.22
         .     2021 Morbark Boxer                                  $13,210.06     Comparable sale              $17,000.00


         47.23
         .     2021 Ford F-350                                     $13,608.53     Comparable sale              $20,000.00


         47.24
         .     2023 Hino L6 (268)                                  $70,453.32     Comparable sale              $70,000.00


Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                         page 5
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Debtor       SLM Services, LLC                                                         Case number (If known)
             Name



          47.25
          .     2022 Ford Ranger (VIN ending 3255)                             $18,470.00      Comparable sale                  $25,000.00


          47.26
          .     2019 Ford F-250 (VIN ending 0138)                              $18,470.63                                       $25,000.00


          47.27
          .     2022 Ford Ranger (VIN ending 6020)                             $22,388.46      Comparable sale                  $22,000.00


          47.28
          .     2022 Ford Ranger (VIN ending 7300)                             $22,768.58      Comparable sale                  $22,000.00


          47.29 2022 Omme2750 lift and 2022
          .     Appalachian trailer                                            $93,771.38      Comparable sale                 $140,000.00


          47.30
          .     Kubota skid steer                                              $53,759.58      Comparable sale                  $65,000.00


          47.31
          .     2024 Land Rover                                                $86,000.00                                       $85,000.00


          47.32
          .     2020 Hino 195                                                        $0.00                                      $30,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          mowers, blowers, trimmers, chainsaws                                 $15,000.00      Comparable sale                  $15,000.00



51.       Total of Part 8.                                                                                                 $1,274,500.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                  page 6
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Debtor        SLM Services, LLC                                                            Case number (If known)
              Name

           Description and location of             Nature and             Net book value of           Valuation method used   Current value of
           property                                extent of              debtor's interest           for current value       debtor's interest
           Include street address or other         debtor's interest      (Where available)
           description such as Assessor            in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Lease of premises
                    consisting of
                    building and outdoor           5 year lease
                    space located at 25            from January
                    Radel Street,                  1, 2024 -
                    Bridgeport,                    December 31,
                    Connecticut                    2028                                  $0.00                                                    $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Claim against Brendan T. Sullivan (not yet filed)                                                                          $1,000,000.00
           Nature of claim
           Amount requested                                       $0.00


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                             page 7
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Debtor      SLM Services, LLC                                                       Case number (If known)
            Name



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                          $1,000,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                          page 8
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Debtor          SLM Services, LLC                                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $379,698.73

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $173,093.95

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $24,143.91

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $4,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,274,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,000,000.00

91. Total. Add lines 80 through 90 for each column                                                         $2,855,436.59            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,855,436.59




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 9
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Fill in this information to identify the case:

Debtor name         SLM Services, LLC

United States Bankruptcy Court for the:           DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally Financial                               Describe debtor's property that is subject to a lien                     $3,630.18               $15,000.00
      Creditor's Name                              2019 Ford F-250
      Attn: President
      PO Box 380902
      Minneapolis, MN 55438
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      05/10/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1543
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Apex Commercial Capital                      Describe debtor's property that is subject to a lien                   $13,356.19                $17,000.00
      Creditor's Name                              2021 Morbark Boxer
      formerly FirstLease, Inc.
      Attn: Owner/President
      1 Walnut Grove Drive, Ste.
      300
      Horsham, PA 19044
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      10/08/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7001

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6
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Debtor      SLM Services, LLC                                                                     Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Bank of America                             Describe debtor's property that is subject to a lien                     $17,522.88    $20,000.00
      Creditor's Name                             2021 Ford F-350
      Attn: President
      PO Box 45224
      Jacksonville, FL 32232
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      04/14/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9467
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      First Commonwealth Equip
2.4                                                                                                                        $73,117.50    $70,000.00
      Fin                                         Describe debtor's property that is subject to a lien
      Creditor's Name                             2023 Hino L6 (268)
      Attn: Owner/President
      920 Cassatt Road, Ste. 310
      Berwyn, PA 19312
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      07/25/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6715
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $21,117.93    $25,000.00
      Creditor's Name                             2022 Ford Ranger (VIN ending 3255)
      Attn: President
      PO Box 220564
      Pittsburgh, PA 15257-2564
      Creditor's mailing address                  Describe the lien



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 6
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Debtor      SLM Services, LLC                                                                     Case number (if known)
            Name

                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      03/16/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4967
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $33,203.50    $25,000.00
      Creditor's Name                             2019 Ford F-250 (VIN ending 0138)
      Attn: President
      PO Box 220564
      Pittsburgh, PA 15257-2564
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      07/19/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7688
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $19,199.19    $22,000.00
      Creditor's Name                             2022 Ford Ranger (VIN ending 6020)
      Attn: President
      PO Box 220564
      Pittsburgh, PA 15257-2564
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      09/30/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5010
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 3 of 6
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Debtor      SLM Services, LLC                                                                     Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   Ford Motor Credit                           Describe debtor's property that is subject to a lien                      $19,580.96    $22,000.00
      Creditor's Name                             2022 Ford Ranger (VIN ending 7300)
      Attn: President
      PO Box 220564
      Pittsburgh, PA 15257-2564
      Creditor's mailing address                  Describe the lien
                                                  Non-Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/17/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0549
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   Kubota Credit Corporation                   Describe debtor's property that is subject to a lien                      $50,421.13    $65,000.00
      Creditor's Name                             Kubota skid steer
      Attn: President
      PO Box 2046
      Grapevine, TX 76099
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/02/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1885
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Land Rover Financial
0     Group                                       Describe debtor's property that is subject to a lien                     $110,489.89    $85,000.00
      Creditor's Name                             2024 Land Rover
      Attn: Managing Director
      PO Box 650351
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4 of 6
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Debtor      SLM Services, LLC                                                                     Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      06/07/2024                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3508
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   The Huntington National
1     Bank                                        Describe debtor's property that is subject to a lien                      $17,664.00     $60,000.00
      Creditor's Name                             2020 Brush Bandit 19XPC
      Attn: President
      11100 Wayzata Blvd., Ste.
      700
      Hopkins, MN 55305
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      09/23/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0526
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   The Huntington National
2     Bank                                        Describe debtor's property that is subject to a lien                     $117,392.00    $140,000.00
      Creditor's Name                             2022 Omme2750 lift and 2022 Appalachian
      Attn: President                             trailer
      11101 Wayata Blvd., Ste.
      700
      Hopkins, MN 55305
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      07/21/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0500
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 5 of 6
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Debtor       SLM Services, LLC                                                                     Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.1    Toyota Commercial
3      Finance                                     Describe debtor's property that is subject to a lien                      $14,480.01             $30,000.00
       Creditor's Name                             2020 Hino 195
       Attn: Managing Director
       PO Box 660926
       Dallas, TX 75266
       Creditor's mailing address                  Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       05/13/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3826
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $511,175.36

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 6
             Case 25-50514                 Doc 1         Filed 06/24/25               Entered 06/24/25 16:29:52                              Page 26 of 58

Fill in this information to identify the case:

Debtor name        SLM Services, LLC

United States Bankruptcy Court for the:         DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,125.94
          Airgas                                                               Contingent
          Attn: President                                                      Unliquidated
          PO Box 734445
                                                                               Disputed
          Chicago, IL 60673
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 1529                              Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $317.71
          All American Waste                                                   Contingent
          Attn: Owner/President                                                Unliquidated
          PO Box 1308                                                          Disputed
          Enfield, CT 06083
                                                                            Basis for the claim:
          Date(s) debt was incurred April 2025
          Last 4 digits of account number 4445                              Is the claim subject to offset?       No     Yes


3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $339.12
          ALP Industries LLC                                                   Contingent
          Attn: Managing Member                                                Unliquidated
          PO Box 781712                                                        Disputed
          Philadelphia, PA 19178
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 3379                              Is the claim subject to offset?       No     Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $218.83
          Archer Signs                                                         Contingent
          Attn: Owner/President                                                Unliquidated
          316 Boston Post Road
                                                                               Disputed
          Milford, CT 06460
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 7
                                                                                                          47648
            Case 25-50514              Doc 1        Filed 06/24/25           Entered 06/24/25 16:29:52                              Page 27 of 58

Debtor      SLM Services, LLC                                                               Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,774.20
         Associated Receivables Funding
         c/o Townes B. Johnson III, LLC                               Contingent
         Attn: Townes Johnson, Esq.                                   Unliquidated
         101 N. Main Street                                           Disputed
         Greenville, SC 29601
                                                                   Basis for the claim: guaranteed obligation
         Date(s) debt was incurred October 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $404.12
         Bobcat of Connecticut Inc.                                   Contingent
         Attn: Owner/President                                        Unliquidated
         821 Woodend Road                                             Disputed
         Stratford, CT 06615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 003S                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,237.53
         Capital One, N.A.                                            Contingent
         Attn: President                                              Unliquidated
         PO Box 71087                                                 Disputed
         Charlotte, NC 28272
                                                                   Basis for the claim: credit card purchases
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $51,264.72
         CAT Financial/H.O. Penn                                      Contingent
         Attn: President                                              Unliquidated
         PO Box 735638                                                Disputed
         Dallas, TX 75373
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 1363                      Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $95,641.17
         CT Dept. of Labor                                            Contingent
         Attn: Managing Director                                      Unliquidated
         200 Folly Brook Boulevard
                                                                      Disputed
         Wethersfield, CT 06109
                                                                   Basis for the claim: prevailing wage dispute and civil penalty
         Date(s) debt was incurred 2023-24
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $232.50
         CT Dept. of Motor Vehicles                                   Contingent
         Attn: Managing Director                                      Unliquidated
         60 State Street                                              Disputed
         Wethersfield, CT 06109
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,376.83
         Custom Bandag of CT LLC                                      Contingent
         Attn: Managing Member                                        Unliquidated
         35 Lundys Lane                                               Disputed
         Stratford, CT 06615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 7400                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 7
            Case 25-50514              Doc 1        Filed 06/24/25           Entered 06/24/25 16:29:52                              Page 28 of 58

Debtor      SLM Services, LLC                                                               Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,068.00
         Equitus LLC                                                  Contingent
         Attn: Managing Member                                        Unliquidated
         10 Skyline Drive                                             Disputed
         Oxford, CT 06478
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,554.90
         Grillo Services, LLC                                         Contingent
         Attn: Managing Member                                        Unliquidated
         1183 Oronoque Road                                           Disputed
         Milford, CT 06461
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $972.86
         Impact Business Technology                                   Contingent
         Attn: Owner/President                                        Unliquidated
         12 Turnberry Lane                                            Disputed
         Sandy Hook, CT 06482
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,369.85
         John Deere Financial                                         Contingent
         Attn: President                                              Unliquidated
         PO Box 650215                                                Disputed
         Dallas, TX 75265
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 6618                      Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,315.40
         John Paul Garcia & Assoc. P.C.                               Contingent
         Attn: Managing Director                                      Unliquidated
         190 Fairwood Road                                            Disputed
         Bethany, CT 06524
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4931                      Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $865.39
         Klover Inc.                                                  Contingent
         Attn: Owner/President                                        Unliquidated
         600 Honeyspot Road                                           Disputed
         Stratford, CT 06615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number ng17                      Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,417.69
         Madison Supply & Rental                                      Contingent
         Attn: Owner/President                                        Unliquidated
         85 East Washington Avenue                                    Disputed
         Bridgeport, CT 06604
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 9123                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 7
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Debtor      SLM Services, LLC                                                               Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,261.67
         McVac Envrionmental Services                                 Contingent
         Attn: Owner/President                                        Unliquidated
         481 Grand Avenue                                             Disputed
         New Haven, CT 06513
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 0249                      Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,392.74
         Mitchell & Sheahan, P.C.                                     Contingent
         Attn: Managing Director                                      Unliquidated
         999 Oronoque Road, Ste. 203                                  Disputed
         Stratford, CT 06614
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,000.00
         NETTTS                                                       Contingent
         Attn: Owner/President                                        Unliquidated
         510 Barnum Avenue, 4th Floor
                                                                      Disputed
         Bridgeport, CT 06608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $128.75
         Optimum                                                      Contingent
         Attn: Managing Director                                      Unliquidated
         1111 Stewart Avenue                                          Disputed
         Bethpage, NY 11714
                                                                   Basis for the claim:
         Date(s) debt was incurred monthly
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,000.00
         P & C Fence Company, Inc.                                    Contingent
         Attn: Owner/President                                        Unliquidated
         60 Radel Street
                                                                      Disputed
         Bridgeport, CT 06607
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         P&S Construction                                             Contingent
         Attn: President                                              Unliquidated
         3 Lan Drive, Suite 200
                                                                      Disputed
         Westford, MA 01886
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,637.00
         Planters' Choice, LLC                                        Contingent
         Attn: Owner/President                                        Unliquidated
         140 Huntington Road                                          Disputed
         Newtown, CT 06470
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number Acct. ending TREE         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 7
            Case 25-50514              Doc 1        Filed 06/24/25           Entered 06/24/25 16:29:52                              Page 30 of 58

Debtor      SLM Services, LLC                                                               Case number (if known)
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Radel Street LLC                                             Contingent
         Attn: Eugene Argonese                                        Unliquidated
         149 Atlantic Avenue                                          Disputed
         Westerly, RI 02891
                                                                   Basis for the claim: commerical lease
         Date(s) debt was incurred 01/01/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,395.00
         Robinson,Grey,Stepp & Laffitte                               Contingent
         Attn: Managing Member/Director                               Unliquidated
         2151 Pickens Street, Ste. 500                                Disputed
         Columbia, SC 29201
                                                                   Basis for the claim: attorney's fees
         Date(s) debt was incurred March and April 2025
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $251.96
         Southern CT Gas                                              Contingent
         Attn: President                                              Unliquidated
         P.O. Box 847819                                              Disputed
         Boston, MA 02284-7819
                                                                   Basis for the claim: utilities
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $159,889.79
         Stacey Marcell                                               Contingent
         143 Freeman Road                                             Unliquidated
         Oxford, CT 06478                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: promissory note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,277.25
         Sunbelt Rentals, Inc.                                        Contingent
         Attn: Owner/President                                        Unliquidated
         PO Box 409211                                                Disputed
         Atlanta, GA 30384-9211
                                                                   Basis for the claim:
         Date(s) debt was incurred July - Nov. 2024
         Last 4 digits of account number 3200                      Is the claim subject to offset?     No       Yes


3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,106.74
         The Homer C. Godfrey Co.                                     Contingent
         Attn: Owner/President                                        Unliquidated
         1360 Central Avenue                                          Disputed
         Bridgeport, CT 06610
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,000.00
         The Stacey Marcell 2024
         Irrevocable Trust Agreement                                  Contingent
         Attn: Benjamin Proto, Trustee                                Unliquidated
         2885 Main Street                                             Disputed
         Stratford, CT 06614
                                                                   Basis for the claim: loan at 3% per annum
         Date(s) debt was incurred 11/26/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 7
            Case 25-50514                 Doc 1         Filed 06/24/25               Entered 06/24/25 16:29:52                              Page 31 of 58

Debtor       SLM Services, LLC                                                                      Case number (if known)
             Name

3.33      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $138.95
          Town Fair Tires Centers of CT                                        Contingent
          Attn: President                                                      Unliquidated
          114 Honeyspot Road                                                   Disputed
          Stratford, CT 06615
                                                                           Basis for the claim:
          Date(s) debt was incurred 6/20/2025
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.34      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,340.00
          Travelers                                                            Contingent
          Attn: Managing Director                                              Unliquidated
          P.O. Box 660317                                                      Disputed
          Dallas, TX 75266
                                                                           Basis for the claim: insurance premium
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.35      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $557.88
          United Illuminating                                                  Contingent
          Attn: Managing Director                                              Unliquidated
          P.O. Box 847818                                                      Disputed
          Boston, MA 02284-7818
                                                                           Basis for the claim: utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.36      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,750.00
          Waterbury Masonry LLC                                                Contingent
          Attn: Managing Member                                                Unliquidated
          28 West Street
                                                                               Disputed
          Naugatuck, CT 06770
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes

3.37      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $60,000.00
          Waters Construction Co., Inc.                                        Contingent
          Attn: President                                                      Unliquidated
          300 Bostwick Avenue                                                  Disputed
          Bridgeport, CT 06605
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.38      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,550.00
          Whitten, Horton & Gibney LLP                                         Contingent
          Attn: Managing Director                                              Unliquidated
          PO Box 1069                                                          Disputed
          Orange, CT 06477
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 8712                             Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 7
            Case 25-50514              Doc 1        Filed 06/24/25          Entered 06/24/25 16:29:52                      Page 32 of 58

Debtor      SLM Services, LLC                                                           Case number (if known)
            Name

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                          0.00
5b. Total claims from Part 2                                                              5b.   +   $                    543,174.49

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                      543,174.49




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 7 of 7
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Fill in this information to identify the case:

Debtor name       SLM Services, LLC

United States Bankruptcy Court for the:     DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            SLM Services LLC's
           lease is for and the nature of        commerical lease for
           the debtor's interest                 its headquarters at 25
                                                 Radel Street,
                                                 Bridgeport, CT 06607.
               State the term remaining          Expires 12/31/2028                 Radel Street LLC
                                                                                    Attn: Eugene Argonese
           List the contract number of any                                          149 Atlantic Avenue
                 government contract                                                Westerly, RI 02891




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
          Case 25-50514              Doc 1        Filed 06/24/25           Entered 06/24/25 16:29:52                    Page 34 of 58

Fill in this information to identify the case:

Debtor name      SLM Services, LLC

United States Bankruptcy Court for the:   DISTRICT OF CONNECTICUT

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Brendan T.                  780 Hillside Road                                         Associated                         D
          Sullivan                    Fairfield, CT 06824                                       Receivables Funding                E/F       3.5
                                                                                                                                   G




   2.2    EPIC Homes LLC              c/o Imad Afiouni, Reg. Agent                              Associated                         D
                                      10 Warren Road                                            Receivables Funding                E/F       3.5
                                      New Preston Marble Dale, CT 06777-2114
                                                                                                                                   G




   2.3    Stacey L. Marcell           143 Freeman Road                                          Associated                         D
                                      Oxford, CT 06478                                          Receivables Funding                E/F       3.5
                                                                                                                                   G




   2.4    Stacey L. Marcell           143 Freeman Road                                          Land Rover Financial               D   2.10
                                      Oxford, CT 06478                                          Group                              E/F
                                      personally guaranteed loan for 2024
                                                                                                                                   G
                                      Range Rover (VIN ending 0073)




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    SLM Services, LLC                                                       Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     Stacey L. Marcell        143 Freeman Road                                    Ford Motor Credit                  D   2.7
                                   Oxford, CT 06478                                                                       E/F
                                   personally guaranteed loan for 2022 Ford
                                                                                                                          G
                                   Ranger (VIN ending 7300)




  2.6     Stacey L. Marcell        143 Freeman Road                                    Ford Motor Credit                  D   2.8
                                   Oxford, CT 06478                                                                       E/F
                                   personally guaranteed loan for 2022 Ford
                                                                                                                          G
                                   Ranger (VIN ending 6020)




  2.7     Stacey L. Marcell        143 Freeman Road                                    Ford Motor Credit                  D   2.6
                                   Oxford, CT 06478                                                                       E/F
                                   personally guaranteed loan for 2019 Ford
                                                                                                                          G
                                   F-250 (VIN ending 0138)




  2.8     Stacey L. Marcell        143 Freeman Road                                    Ford Motor Credit                  D   2.5
                                   Oxford, CT 06478                                                                       E/F
                                   personally guaranteed loan for 2022 Ford
                                                                                                                          G
                                   Ranger (VIN ending 3255)




  2.9     Stacey L. Marcell        143 Freeman Road                                    Toyota Commercial                  D   2.13
                                   Oxford, CT 06478                                    Finance                            E/F
                                   personally guaranteed loan for 2020 Hino
                                                                                                                          G
                                   195 (VIN ending 9786)




  2.10    Stacey L. Marcell        143 Freeman Road                                    Ally Financial                     D   2.1
                                   Oxford, CT 06478                                                                       E/F
                                   personally guaranteed loan for 2019 Ford
                                                                                                                          G
                                   F-250 (VIN ending 7307)




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         SLM Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/25
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $833,498.00
       From 1/01/2025 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $2,926,825.48
       From 1/01/2024 to 12/31/2024
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $4,429,599.33
       From 1/01/2023 to 12/31/2023
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $8,575. (This amount may be adjusted on 4/01/28
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       SLM Services, LLC                                                                         Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Union Insurance                                             02/14/2025                       $28,087.58                Secured debt
               Attn: President                                             and                                                        Unsecured loan repayments
               500 Enterprise Drive, Ste. 2A                               03/14/2025                                                 Suppliers or vendors
               Rocky Hill, CT 06067                                                                                                   Services
                                                                                                                                   Other monthly insurance
                                                                                                                                 premium ($14,043.79 each
                                                                                                                                 month)

       3.2.
               Capital One, N.A.                                           03/24/2025                       $10,000.00                Secured debt
               Attn: President                                                                                                        Unsecured loan repayments
               P.O. Box 71087                                                                                                         Suppliers or vendors
               Charlotte, NC 28272-1087                                                                                               Services
                                                                                                                                      Other credit card


       3.3.
               Planters' Choice LLC                                        03/28/2025                         $7,908.75               Secured debt
               Attn: Owner/President                                                                                                  Unsecured loan repayments
               140 Huntington Road
                                                                                                                                      Suppliers or vendors
               Newtown, CT 06470
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $8,575. (This amount
   may be adjusted on 4/01/28 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




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 Debtor       SLM Services, LLC                                                                             Case number (if known)




           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    Eugene Arganese v. Alba                           Foreclosure                  CT Superior Court, J.D.                     Pending
               Property Holdings, LLC, et al.                    Mortgage                     Fairfield                                   On appeal
               FBT-CV23-6121188-S                                (Defendant SLM               1061 Main Street
                                                                                                                                          Concluded
                                                                 Services, LLC                Bridgeport, CT 06604
                                                                 d/b/a Northeast
                                                                 Horticultural
                                                                 Services claims or
                                                                 may claim an
                                                                 interest in the
                                                                 subject real
                                                                 property by virtue
                                                                 of a rental
                                                                 agreement as to
                                                                 some or all of the
                                                                 properties.)

       7.2.    Davis Bacon/Fair Labor                            Enforcement of               CT Department of Labor                      Pending
               Standards Act                                     prevailing wage              200 Folly Brook Boulevard                   On appeal
               1982246                                           rules on                     Wethersfield, CT 06109
                                                                                                                                          Concluded
                                                                 government jobs

       7.3.    Payment of Prevailing Wages                       Failure to pay into          CT Department of Labor                      Pending
               Properly                                          employees'                   200 Folly Brook Boulevard                   On appeal
               23-47631                                          pension fund                 Wethersfield, CT 06109
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
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 Debtor        SLM Services, LLC                                                                         Case number (if known)



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Law Offices of Jeffrey
                Hellman, LLC
                195 Church Street, 10th Floor
                New Haven, CT 06510                                  Attorney Fees                                             04/09/2025           $20,000.00

                Email or website address
                jeff@jeffhellmanlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
    within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
    Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    252 Depot Road                                                                                             12/31/2020 -01/01/2023
                Milford, CT 06460

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.



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 Debtor        SLM Services, LLC                                                                        Case number (if known)



                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    The Contractors Retirement Plan                                                            EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Chelsea Groton Bank                             XXXX-9258                   Checking                 12/03/2024                         $714.22
                 904 Poquonnock Road                                                         Savings
                 Groton, CT 06340
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      SLM Services, LLC                                                                          Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Does debtor
                                                                     access to it                                                                       still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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 Debtor      SLM Services, LLC                                                                          Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Northeast Horticultural                          lawn care; tree care and removal;                EIN:         XX-XXXXXXX
             Experts LLC                                      landscaping design, services and
             25 Radel Street                                  maintenance                                      From-To      12/05/2024 - present
             Bridgeport, CT 06607-2114


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Dawn Lynch                                                                                                                 02/2022 - present
                    10 Skyline Drive
                    Oxford, CT 06478

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Matthew Reinecke, CPA
                    445 Boston Post Road
                    Orange, CT 06477
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Stacey Marcell
                    143 Freeman Road
                    Oxford, CT 06478

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       The Innovative CPA Group
                    One Enterprise Drive
                    Shelton, CT 06484

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
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 Debtor      SLM Services, LLC                                                                          Case number (if known)



    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Stacey Marcell                                 143 Freeman Road                                    member                                60%
                                                      Oxford, CT 06478

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       EPIC Homes, LLC                                Attn: Imad Afiouni, Managing                        member                                40%
                                                      Member
                                                      10 Warren Road
                                                      New Preston Marble Dale, CT 06777


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Stacey Marcell
       .    143 Freeman Road                                     $2,500 gross per week/$130,000 gross                    effective
               Oxford, CT 06478                                  annually                                                since 2021        Salary

               Relationship to debtor
               Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund
    The Contract Retirement Plan                                                                               EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
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 Debtor      SLM Services, LLC                                                                          Case number (if known)



      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 24, 2025

 /s/ Stacey Marcell                                                     Stacey Marcell
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Member/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                 District of Connecticut
 In re       SLM Services, LLC                                                                                Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiation, preparation and confirmation of a plan of reorganization which will be billed at Jeffrey Hellman's
              hourly rate of $650.00 per hour.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 24, 2025                                                            /s/ Jeffrey Hellman
     Date                                                                     Jeffrey Hellman CT04102
                                                                              Signature of Attorney
                                                                              Law Offices of Jeffrey Hellman, LLC
                                                                              195 Church Street, 10th Floor
                                                                              New Haven, CT 06510
                                                                              203-691-8762 Fax: 203-823-4401
                                                                              jeff@jeffhellmanlaw.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                                  District of Connecticut
 In re    SLM Services, LLC                                                                                       Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
EPIC Homes, LLC                                                                                                              Membership (40%)
c/o Imad Afiouni, Reg. Agent
10 Warren Road
New Preston Marble Dale, CT 06777-2114

Stacey L. Marcell                                                                                                            Membership (60%)
143 Freeman Road
Oxford, CT 06478


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member/Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date June 24, 2025                                                       Signature /s/ Stacey Marcell
                                                                                        Stacey Marcell

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                       District of Connecticut
 In re   SLM Services, LLC                                                                     Case No.
                                                                   Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Member/Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    June 24, 2025                                 /s/ Stacey Marcell
                                                       Stacey Marcell/Member/Manager
                                                       Signer/Title
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                        Airgas
                        Attn: President
                        PO Box 734445
                        Chicago, IL 60673


                        All American Waste
                        Attn: Owner/President
                        PO Box 1308
                        Enfield, CT 06083


                        Ally Financial
                        Attn: President
                        PO Box 380902
                        Minneapolis, MN 55438


                        ALP Industries LLC
                        Attn: Managing Member
                        PO Box 781712
                        Philadelphia, PA 19178


                        Apex Commercial Capital
                        formerly FirstLease, Inc.
                        Attn: Owner/President
                        1 Walnut Grove Drive, Ste. 300
                        Horsham, PA 19044


                        Archer Signs
                        Attn: Owner/President
                        316 Boston Post Road
                        Milford, CT 06460


                        Associated Receivables Funding
                        c/o Townes B. Johnson III, LLC
                        Attn: Townes Johnson, Esq.
                        101 N. Main Street
                        Greenville, SC 29601


                        Bank of America
                        Attn: President
                        PO Box 45224
                        Jacksonville, FL 32232


                        Bobcat of Connecticut Inc.
                        Attn: Owner/President
                        821 Woodend Road
                        Stratford, CT 06615
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                    Brendan T. Sullivan
                    780 Hillside Road
                    Fairfield, CT 06824


                    Capital One, N.A.
                    Attn: President
                    PO Box 71087
                    Charlotte, NC 28272


                    CAT Financial/H.O. Penn
                    Attn: President
                    PO Box 735638
                    Dallas, TX 75373


                    CT Dept. of Labor
                    Attn: Managing Director
                    200 Folly Brook Boulevard
                    Wethersfield, CT 06109


                    CT Dept. of Motor Vehicles
                    Attn: Managing Director
                    60 State Street
                    Wethersfield, CT 06109


                    Custom Bandag of CT LLC
                    Attn: Managing Member
                    35 Lundys Lane
                    Stratford, CT 06615


                    EPIC Homes LLC
                    c/o Imad Afiouni, Reg. Agent
                    10 Warren Road
                    New Preston Marble Dale, CT 06777-2114


                    Equitus LLC
                    Attn: Managing Member
                    10 Skyline Drive
                    Oxford, CT 06478


                    First Commonwealth Equip Fin
                    Attn: Owner/President
                    920 Cassatt Road, Ste. 310
                    Berwyn, PA 19312
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                    Ford Motor Credit
                    Attn: President
                    PO Box 220564
                    Pittsburgh, PA 15257-2564


                    Ford Motor Credit
                    Attn: President
                    PO Box 220564
                    Pittsburgh, PA 15257-2564


                    Ford Motor Credit
                    Attn: President
                    PO Box 220564
                    Pittsburgh, PA 15257-2564


                    Ford Motor Credit
                    Attn: President
                    PO Box 220564
                    Pittsburgh, PA 15257-2564


                    Grillo Services, LLC
                    Attn: Managing Member
                    1183 Oronoque Road
                    Milford, CT 06461


                    Impact Business Technology
                    Attn: Owner/President
                    12 Turnberry Lane
                    Sandy Hook, CT 06482


                    John Deere Financial
                    Attn: President
                    PO Box 650215
                    Dallas, TX 75265


                    John Paul Garcia & Assoc. P.C.
                    Attn: Managing Director
                    190 Fairwood Road
                    Bethany, CT 06524


                    Klover Inc.
                    Attn: Owner/President
                    600 Honeyspot Road
                    Stratford, CT 06615
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                    Kubota Credit Corporation
                    Attn: President
                    PO Box 2046
                    Grapevine, TX 76099


                    Land Rover Financial Group
                    Attn: Managing Director
                    PO Box 650351
                    Dallas, TX 75265


                    Madison Supply & Rental
                    Attn: Owner/President
                    85 East Washington Avenue
                    Bridgeport, CT 06604


                    McVac Envrionmental Services
                    Attn: Owner/President
                    481 Grand Avenue
                    New Haven, CT 06513


                    Mitchell & Sheahan, P.C.
                    Attn: Managing Director
                    999 Oronoque Road, Ste. 203
                    Stratford, CT 06614


                    NETTTS
                    Attn: Owner/President
                    510 Barnum Avenue, 4th Floor
                    Bridgeport, CT 06608


                    Optimum
                    Attn: Managing Director
                    1111 Stewart Avenue
                    Bethpage, NY 11714


                    P & C Fence Company, Inc.
                    Attn: Owner/President
                    60 Radel Street
                    Bridgeport, CT 06607


                    P&S Construction
                    Attn: President
                    3 Lan Drive, Suite 200
                    Westford, MA 01886
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                    Planters' Choice, LLC
                    Attn: Owner/President
                    140 Huntington Road
                    Newtown, CT 06470


                    Radel Street LLC
                    Attn: Eugene Argonese
                    149 Atlantic Avenue
                    Westerly, RI 02891


                    Radel Street LLC
                    Attn: Eugene Argonese
                    149 Atlantic Avenue
                    Westerly, RI 02891


                    Robinson,Grey,Stepp & Laffitte
                    Attn: Managing Member/Director
                    2151 Pickens Street, Ste. 500
                    Columbia, SC 29201


                    Southern CT Gas
                    Attn: President
                    P.O. Box 847819
                    Boston, MA 02284-7819


                    Stacey L. Marcell
                    143 Freeman Road
                    Oxford, CT 06478


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                    143 Freeman Road
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                    143 Freeman Road
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                    143 Freeman Road
                    Oxford, CT 06478


                    Stacey Marcell
                    143 Freeman Road
                    Oxford, CT 06478


                    Sunbelt Rentals, Inc.
                    Attn: Owner/President
                    PO Box 409211
                    Atlanta, GA 30384-9211


                    The Homer C. Godfrey Co.
                    Attn: Owner/President
                    1360 Central Avenue
                    Bridgeport, CT 06610


                    The Huntington National Bank
                    Attn: President
                    11100 Wayzata Blvd., Ste. 700
                    Hopkins, MN 55305


                    The Huntington National Bank
                    Attn: President
                    11101 Wayata Blvd., Ste. 700
                    Hopkins, MN 55305


                    The Stacey Marcell 2024
                    Irrevocable Trust Agreement
                    Attn: Benjamin Proto, Trustee
                    2885 Main Street
                    Stratford, CT 06614


                    Town Fair Tires Centers of CT
                    Attn: President
                    114 Honeyspot Road
                    Stratford, CT 06615
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                    Toyota Commercial Finance
                    Attn: Managing Director
                    PO Box 660926
                    Dallas, TX 75266


                    Travelers
                    Attn: Managing Director
                    P.O. Box 660317
                    Dallas, TX 75266


                    United Illuminating
                    Attn: Managing Director
                    P.O. Box 847818
                    Boston, MA 02284-7818


                    Waterbury Masonry LLC
                    Attn: Managing Member
                    28 West Street
                    Naugatuck, CT 06770


                    Waters Construction Co., Inc.
                    Attn: President
                    300 Bostwick Avenue
                    Bridgeport, CT 06605


                    Whitten, Horton & Gibney LLP
                    Attn: Managing Director
                    PO Box 1069
                    Orange, CT 06477
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                                                 District of Connecticut
 In re   SLM Services, LLC                                                           Case No.
                                                           Debtor(s)                 Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SLM Services, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 24, 2025                                  /s/ Jeffrey Hellman
Date                                           Jeffrey Hellman CT04102
                                               Signature of Attorney or Litigant
                                               Counsel for SLM Services, LLC
                                               Law Offices of Jeffrey Hellman, LLC
                                               195 Church Street, 10th Floor
                                               New Haven, CT 06510
                                               203-691-8762 Fax:203-823-4401
                                               jeff@jeffhellmanlaw.com
